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         ORAL ARGUMENT SCHEDULED FOR MAY 19, 2023
                                No. 23-5044

                                    In the
               United States Court of Appeals
                 for the District of Columbia Circuit
                            ____________________

                          IN RE: SEALED CASE

                     (UNDER SEAL AND EX PARTE)
                         ____________________
    ON APPEAL FROM THE UNITED STATES DISTRICT COURT
             FOR THE DISTRICT OF COLUMBIA
            District Court No. 22-sc-2144 (Howell, C.J.)
                               ______________

           ANSWERING BRIEF FOR THE UNITED STATES
                               ______________

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 CERTIFICATE AS TO PARTIES, RULINGS, AND RELATED CASES

      Pursuant to D.C. Cir. R. 28(a)(1), the undersigned certifies as follows:

      A.    Parties and Amici

      The parties that appeared in the district court and that are now before this

Court are the United States (appellee) and appellant Twitter.

      B.    Rulings Under Review

      Twitter seeks review of the order of the district court (Howell, C.J.)

denying its motion to vacate or modify a nondisclosure order, JA354, holding

Twitter in contempt for failing to comply with an order directing it to produce

materials responsive to a search warrant, and levying a $350,000 sanction,

JA355; see JA356-95 (memorandum opinion).

      C.    Related Cases

      Counsel is not aware of any cases that would be deemed related under

D.C. Cir. R. 28(a)(1)(C).

                                            /s/ James I. Pearce
                                            JAMES I. PEARCE
                                            Assistant Special Counsel
                                            U.S. Department of Justice




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                     GLOSSARY OF ABBREVIATIONS

Br.              Opening brief filed by Appellant

ECF No.          Docket entries in the district court

JA               Joint Appendix

NDO              Nondisclosure order

PRA              Presidential Records Act

NARA             U.S. National Archives and Records Administration




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                     JURISDICTIONAL STATEMENT

      This is an appeal arising from a warrant to search information from the

Twitter account of former President Donald J. Trump. On January 17, 2023,

the district court authorized a search warrant for that account and issued an

order requiring that Twitter not disclose the warrant to anyone. JA1-2. On

March 3, 2023, the district court denied Twitter’s motion to vacate or modify

the nondisclosure order and held Twitter in civil contempt for failing to comply

with the search warrant. JA354-55. Twitter filed a timely notice of appeal on

March 7, 2023. ECF No. 34. Twitter’s notice of appeal supplies jurisdiction for

its challenges to the nondisclosure order and the civil contempt finding, but as

explained below, Twitter’s claim that the district court erred by resolving

Twitter’s compliance with the warrant before adjudicating Twitter’s challenge

to the nondisclosure order is moot.

                      STATEMENT OF THE ISSUES

      1.    Whether the district court correctly ruled that the nondisclosure

order was consistent with the First Amendment.

      2.    Whether the district court correctly ruled that Twitter’s challenge to

the nondisclosure order was independent of its obligation to comply with the

search warrant.




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      3.    Whether the district court abused its discretion by holding Twitter

in civil contempt and levying a financial sanction against it where Twitter

represented, at a hearing 11 days after Twitter’s deadline to disclose materials

pursuant to a search warrant, that it could comply with an order to produce

materials that evening, but then failed to comply with the order for another 51

hours.

                        STATEMENT OF THE CASE

I.    Legal Background
      The Stored Communications Act (“Act”), Pub. L. No. 99-508, 100 Stat.

1848 (1986), regulates access to electronic communications and information

stored by providers of electronic communications services and remote

computing services, like Twitter. Within the Act, Section 2703 defines how the

Government can require the disclosure of information pertaining to the

customers and subscribers of covered services. See generally 18 U.S.C. § 2703(a)-

(c). Section 2703 provides for different means of obtaining evidence—including

via subpoenas, court orders under Section 2703(d), and search warrants. See

§ 2703(c)(2).

      Because the Act frequently entails providing some information about

government investigations to third parties, Section 2705(b) complements

Section 2703 by authorizing judges to prevent a provider from disclosing a



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warrant, court order, or subpoena issued pursuant to Section 2703. See 18

U.S.C. § 2705(b); In re United States for an Order Pursuant to 18 U.S.C. § 2705(b),

289 F. Supp. 3d 201, 208 (D.D.C. 2018). On the Government’s application, a

court shall issue a nondisclosure order “for such period as the court deems

appropriate,” based upon an independent judicial determination that “there is

reason to believe that notification of the existence of the [legal process pursuant

to Section 2703] will result” in (1) endangerment of a person’s life or physical

safety; (2) flight from prosecution; (3) destruction of or tampering with evidence;

(4) intimidation of potential witnesses; or (5) otherwise seriously jeopardizing

an investigation or unduly delaying a trial. 18 U.S.C. § 2705(b). The Act’s

statutory scheme thus requires that, once a court has found that the Government

has demonstrated a “reason to believe” that disclosure would result in one or

more of the listed harms, the court must issue an order prohibiting the service

provider to whom the Section 2703 process is directed from notifying “any other

person” of the legal process for a period of time that the court deems appropriate.

Id. 1 Section 2705(b) thus operates to “protect specified law enforcement interests



1
  Section 2705(b) is far from the only statute limiting disclosure of information
related to government investigations. See, e.g., 18 U.S.C. § 2518(8)(b) (governing
disclosures of wiretap orders); 18 U.S.C. § 3123(d)(2) (authorizing courts to
prohibit providers from disclosing orders for pen registers and trap-and-trace
devices); see also Lee v. Bankers Tr. Co., 166 F.3d 540, 544 (2d Cir. 1999)
(observing that “even in a suit for damages based on disclosures allegedly made

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in connection with ongoing investigations.” In re Application of Leopold to Unseal

Certain Elec. Surveillance Applications & Ords., 964 F.3d 1121, 1129 (D.C. Cir.

2020). At the same time, it allows for more efficient and effective investigations,

preventing the need for more intrusive techniques than disclosure of information

by third parties, and eliminating the need to weigh risks to witnesses and the

case against the need to gather evidence.

      The Act provides a mechanism for service providers to challenge certain

court orders on specified grounds. Under Section 2703(d), a service provider

may move to quash or modify a court order “if the information or records

requested are unusually voluminous in nature or compliance with such order

otherwise would cause an undue burden on such provider.” But neither Section

2703 nor Section 2705 affords a service provider the opportunity to be heard on

the merits of the statutory showing under Section 2705(b). Instead, a provider’s

challenge to a Section 2705(b) order is limited to whether the order complies

with the First Amendment.

      Section 2703 processes, and related Section 2705(b) orders, are employed

in a wide array of contexts, often involving grand jury investigations that are not

yet public or where only some aspects of the investigation are publicly known.



in a [suspicious activity report (“SAR”)], a financial institution cannot reveal
what disclosures it made in an SAR, or even whether it filed an SAR at all”).

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The Government may seek basic subscriber information at an early stage of an

investigation, when investigators know nothing more than an Internet Protocol

or email address used in connection with a potential crime, and the identity of

the customer or subscriber is unknown. As an investigation progresses, the

Government may seek a court order under Section 2703(d) to gather further

information, such as identifying information about individuals with whom a

suspect is communicating. Where, as here, probable cause exists to believe that

information associated with an account includes evidence of a crime, warrants

can be sought to search for such evidence.

      In many such situations, absent the limited secrecy provided under the

Act, the ability of grand juries and government investigators to collect evidence

and identify wrongdoers would be seriously undermined by a provider’s

decision to disclose the existence of, or steps taken in, an ongoing investigation.

In recognition of the evolving nature of federal criminal investigations, the U.S.

Department of Justice policy regarding applications for orders pursuant to

Section 2705(b) notes that “[w]hen applying for a § 2705(b) order to accompany

a subpoena seeking basic subscriber information in an ongoing investigation that

is not public or known to the subject(s) of the investigation, stating the reasons

for protection from disclosure under § 2705(b) . . . usually will suffice.” U.S.

Dep’t of Justice, Policy Regarding Applications for Protective Orders Pursuant to 18


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U.S.C. § 2705(b), at 2 n.2 (Oct. 19, 2017). “At a later stage of the investigation,”

the policy notes, such as “when a search warrant is being sought, the prosecutor

should include more specific facts, as available, in support of the protective

order.”    Id.; see also U.S. Dep’t of Justice, Supplemental Policy Regarding

Applications for Protective Orders Pursuant to 18 U.S.C. § 2705(b), at 2 (May 27, 2022)

(noting that prosecutors “must provide a court with sufficient facts to permit the

court to conduct” a “case- and fact-specific analysis,” including by “identify[ing]

which of the pertinent factors apply”).

II.   Factual and Procedural Background

      A.     Twitter refuses to comply with a valid search warrant.
      On January 17, 2023, the district court issued a search warrant (the

“Warrant”)     for    information     associated    with    the    Twitter    account

“@realDonaldTrump” (the “Account”) based on its conclusion that probable

cause existed to search the information for evidence of certain criminal offenses.

JA362. Along with the Warrant, the Government sought, and the district court

issued, a nondisclosure order (the “NDO”). Under the statute, Twitter had no

right to appear at that proceeding. The district court issued the NDO after

finding reasonable grounds under Section 2705(b) to believe that disclosure

would “result in destruction of or tampering with evidence, intimidation of

potential witnesses, and serious jeopardy to the investigation.” JA1. The district



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court ordered Twitter not to disclose “the existence or content of the Warrant”

for 180 days. JA2.

      The Warrant required Twitter to produce responsive materials no later

than January 27. JA362. The same day that the district court authorized the

Warrant—January 17—the Government used Twitter’s Legal Requests

Submissions online site to attempt to serve the Warrant on Twitter. Id. Two

service attempts failed, however, because Twitter’s “page was down.” JA363

(brackets omitted). On January 19, 2023, the Government successfully served

the Warrant on Twitter through the website. Id.

      The Warrant as served on Twitter incorporated by reference two

attachments—describing the “Property to Be Searched” (Attachment A) and the

“Particular Things to Be Seized” (Attachment B)—but not the warrant

application or the probable cause affidavit. ECF No. 4, at 2. In other words, of

the 116-page application, the Warrant itself (as served on Twitter) comprised

only six pages. See JA362-63. Nevertheless, those six pages reflected (1) the

existence of the Warrant; (2) the court and district court judge from whom the

Warrant was obtained; (3) the date and time of the Warrant’s issuance; (4) the

specific account subject to the Warrant; (5) the specific categories of information

sought by the Government, including certain content, subject areas, and persons

of interest; and (6) the name, title, and official address of the agent with the


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Federal Bureau of Investigation to whom responsive information should be

produced.

        When the Government contacted Twitter on January 25 to confirm that

Twitter would meet the January 27 deadline,

                  , responded that      “was not aware of the Warrant but would

consider it a priority.” JA363 (internal quotation marks omitted). At the same

time,          noted that compliance by the deadline “would be a very tight

turnaround.” Id. (internal quotation marks omitted). The Government that

evening sent the six pages to        , who directed Twitter personnel to preserve

the available data. Id.

        On January 26, Twitter informed the Government that it did not intend

to comply with the Warrant by the following day’s deadline. JA364. When

asked for additional information,            indicated that Twitter was “prioritizing

the matter and taking it very seriously,” while also erroneously claiming Twitter

had only had the Warrant for two days even though the Government had in fact

served it seven days earlier. Id. (internal quotation marks omitted). For the first

time on January 31—four days after the compliance deadline—Twitter

informed the Government that it would not comply with the Warrant absent

revisions to the NDO. Id. Noting that “on occasion” Twitter “challenged

nondisclosure orders,”           claimed that the district court was wrong to have


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issued the NDO “given the intense publicity around the investigation.” Id.

(internal quotation marks omitted).           later communicated that Twitter would

not comply with the Warrant “until we resolved our questions as to the NDO.”

Id. (internal quotation marks omitted).

      B.    After the district court orders Twitter to comply with the search
            warrant while it litigates the nondisclosure order, Twitter
            indicates it is prepared to meet the court’s deadline but fails to do
            so.
      The parties filed cross motions on February 2, 2023. JA364-65. The

Government moved for an order to show cause why Twitter should not be held

in contempt for failing to comply with the Warrant by the January 27 deadline,

arguing that Twitter’s compliance with the Warrant was entirely distinct from

any question concerning the validity of the NDO. JA22-25. Twitter cross-

moved to vacate or modify the NDO on the grounds that it violated Twitter’s

First Amendment rights and that the former President may wish to assert an

executive-privilege claim, while also contending that it should not be required

to comply with the Warrant while its challenge to the NDO was pending. JA3-

19. For the first time in its reply brief, Twitter argued (JA303-08) that the NDO

violated the Stored Communications Act.

      On February 7, 2023, the district court held a hearing (JA147-215) at

which Twitter acknowledged that it lacked standing to assert any privilege on

behalf of its users, had no confirmation that the former President intended to

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assert a privilege claim, and was “operating on a mere sliver of the information”

of what was presented to, and relied upon by, the district court in granting the

NDO. JA365-66.

      For “practical,” “logistical,” and “legal” reasons, the district court

rejected Twitter’s request to forestall compliance with the Warrant while its

challenge to the NDO was pending. JA366. Permitting Twitter’s approach

would “invite repeated litigation” and lead to “inevitable delays” that would

undermine criminal investigations. Id. And legally, “the NDO was a wholly

separate order from the Warrant, with different standards applicable to issuance

of each.” Id. In short, “the ‘public interest is served by prompt compliance with

the [W]arrant’ because ‘any challenge to a NDO is separate from a challenge to

a search warrant [and] any further delay on the production of the materials

responsive to the Warrant increases the risk that evidence will be lost or

destroyed, heightens the chance the targets will learn of the investigation, and

jeopardizes the government’s ability to bring any prosecution in a timely

fashion.’” Id.

      When asked by the district court, Twitter represented that it “was prepared

to and could comply with the Warrant” by 5 p.m. that afternoon. JA367, 210.

The district court therefore entered an order (the “Show Cause Order”) that

required Twitter to comply fully with the Warrant by 5 p.m. on February 7.


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JA216. Noting that Twitter was purchased in 2022 for over $40 billion and was

solely owned by an individual with a net worth over $180 billion, the district

court set a sanction of $50,000, doubling daily, if Twitter failed to comply with

the deadline in the Show Cause Order—which was entered more than ten days

after Twitter’s initial deadline to comply with the Warrant. JA216, 367.

      Twitter again failed, however, to meet the deadline. JA367. Twitter

produced some records to the Government before the 5 p.m. deadline but

represented the following day in a phone call to the Government that it had

“identified certain information that may (or may not) exist in their holdings” but

“had not been produced.” Id. (internal quotation marks omitted). Twitter

produced additional records on February 9 and alerted the Government that

further productions would be forthcoming, though the timing of those

productions was uncertain. JA368. At the Government’s request, the district

court held a hearing on February 9. JA224-73.

      At that hearing, the district court meticulously reviewed what Twitter had

and had not produced.     JA368. It became evident to the district court when

Twitter “raised questions for the first time about certain requests” that Twitter

had “failed to confer effectively with the government.” Id. Following that “line-

by-line review” of the produced and outstanding materials, Twitter “promised”

to update the Government by 4 p.m. that day (February 9) to explain what


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remained outstanding and when that outstanding material would be produced.

Id. Twitter made its final production at 8:28 p.m. on February 9. JA369. The

district court then directed the parties to calculate the penalty for Twitter’s failure

to meet the February 7 deadline. Id. The Government asked the Court to impose

a $350,000 sanction; Twitter contended that no sanction was appropriate

because it had substantially complied in good faith with the Show Cause Order

by providing some, though not all, responsive materials called for under the

Warrant by 5 p.m. on February 7. Id.

      C.     The district court denies Twitter’s motion to vacate or modify the
             nondisclosure order and imposes a monetary sanction for
             Twitter’s failure to comply.
      On March 3, the district court issued a 35-page memorandum opinion

denying Twitter’s motion to vacate or modify the NDO and imposing a

$350,000 sanction for its failure to comply. See JA356-90; ECF No. 302; see also

JA354-55 (order).




2
  The memorandum opinion in the Joint Appendix is redacted to ensure the
secrecy of grand-jury proceedings under Rule 6(e) of the Federal Rules of
Criminal Procedure. Wherever possible, this brief cites the Joint Appendix. In
some instances, however, the brief cites and discusses materials that remain
redacted; those portions of the brief will themselves be redacted in the version of
the brief served on Twitter. The redacted portions are highlighted in the
unredacted brief.

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      1. With respect to Twitter’s First Amendment challenge to the NDO, the

district court identified “good reasons” not to apply the most exacting standard

to nondisclosures order because they “tend to be narrow in scope” and “limited

to their accompanying orders or warrants and the facts surrounding them.”

JA371. Nonetheless, the district court assumed without deciding that strict

scrutiny applied. JA372. Under that standard, a nondisclosure order must be

“narrowly tailored to serve compelling state interests.” JA370 (citing Reed v.

Town of Gilbert, 576 U.S. 155, 163 (2015)).

      In the district court’s view, the NDO survived strict scrutiny as “a

narrowly tailored restriction for which no less restrictive alternative is available

that would be at least as effective in serving the government’s compelling

interests.” JA372. The NDO served the compelling government interest of

furthering “the integrity and secrecy of an ongoing criminal investigation” of the

former President, who had “a demonstrated history of seeking to interfere with

and undermine the due process of law.” ECF No. 30 at 17 (internal quotation

marks omitted). Magnifying that interest was “the national import of the

January 6th investigation into conduct that culminated in a violent riot at the

U.S. Capitol.” JA372. In reaching that conclusion, the district court observed

that Twitter’s “boldly contest[ed]” counterarguments illustrated its “ignoran[ce]

of details” concerning “the scope of the government’s current investigation.”



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JA375. Those details included the former President’s efforts to obstruct an

ongoing investigation into potential mishandling of classified information, ECF

No. 30, at 23 n.6, which bore particular significance in light of the former

President’s “prior efforts to obstruct investigative efforts into his and his

associates’ conduct,” JA379 n.6. The district court also deemed “irrelevant”

Twitter’s claim that the former President might advance “unique and important”

executive privileges because Twitter’s interests were “purely about its right to

speak to [its] . . . User, not what privileges that User may assert.” JA379

(brackets and internal quotation marks omitted).

      The district court likewise determined that the NDO was narrowly

tailored. The NDO was “narrow in scope and time duration” because it

prevented Twitter only from disclosing the Warrant’s existence and was limited

to 180 days. JA381-82. Moreover, Twitter’s proposed alternatives—notifying

the former President or one of his representatives under the Presidential Records

Act—were “untenable” because they did not allow the Government to

“maintain[] confidentiality about this covert investigative Warrant.” JA383.

      2. The district court then considered whether Twitter’s failure to comply

with the Show Cause Order merited sanctions. JA384-89. The district court

noted that the parties agreed that Twitter failed to comply with the Warrant and

with the Show Cause Order, leaving the only dispute whether Twitter


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substantially complied and acted in good faith, which Twitter claimed was a

defense to civil contempt. JA385. Assuming without deciding that such a

defense existed, the district court concluded that Twitter’s conduct did not

amount to good-faith, substantial compliance. JA385-89. Although Twitter had

“repeatedly represented” it was prepared to comply “promptly” with the

Warrant when ordered to do so, it in fact “waited until after the Show Cause

Order deadline passed on February 7 to raise, for the first time, multiple questions

about the Warrant’s document demands.” JA387. Rather than engage in a

“diligent and serious” effort to comply by trying to resolve those questions

shortly after receiving the Warrant either on January 19—or even when

personally received it on January 25—Twitter opted to litigate.             JA388.

Additionally, the district court reasoned, Twitter represented to the Government

and the court that it “stood ready promptly to produce responsive records in

full” by the Show Cause Order deadline, but “plainly” that was not accurate.

JA388.

                        SUMMARY OF ARGUMENT

      I. The NDO comports with the First Amendment. Assuming as the

district court did that strict scrutiny applies, the NDO serves compelling

government interests and is narrowly tailored to serve those interests. The NDO

protects the integrity and confidentiality of an ongoing criminal investigation.



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As the district court recognized in issuing it, the NDO guarded against possible

efforts by the former President to destroy or tamper with evidence, intimidate

witnesses, or “otherwise seriously jeopardiz[e] an investigation.” 18 U.S.C.

§ 2705(b)(3)-(5).    Although the fact of the investigation is public, the

Government’s specific investigative steps, including that it has secured a search

warrant for the former President’s Twitter account, are unknown. The NDO is

narrowly tailored because it restricts only Twitter’s ability to inform others about

the Warrant—and thus permits Twitter to speak publicly about nondisclosure

orders generally or information Twitter has obtained independently—and

because the NDO is limited to 180 days. Twitter’s proposed alternatives, which

Twitter largely forfeited, are untenable and unworkable because alerting the

former President or his representatives would undermine the NDO’s purpose.

      Twitter lacks standing to challenge the district court’s conclusion under

the Stored Communications Act that the Government proffered sufficient

evidence to support issuance of the NDO under the Section 2705(b) factors. The

Act limits statutory challenges, see 18 U.S.C. § 2708, and while it permits service

providers like Twitter to move to quash an order on the grounds that the order

requests information that is “unusually voluminous” or that compliance would

be unduly burdensome, see 18 U.S.C. § 2703(d), it provides no mechanism for

service providers to challenge a court’s consideration of the factors under Section


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2705(b), which concern whether notifying others, including criminal suspects,

would result in certain harms. Nor would a service provider, like Twitter here,

generally have reason to know whether alerting others, including criminal

suspects, would implicate a statutory harm.

      Finally, the Government’s ex parte submission, and the district court’s ex

parte consideration, of certain investigative information did not undermine the

adversarial process. The ex parte procedures ensured grand-jury secrecy over

investigative information, and the Government’s filing of a separate sealed (but

not ex parte) brief enabled Twitter to litigate its constitutional claim. Nor do the

procedural safeguards required for prior restraints tantamount to censorship

apply to the review of nondisclosure orders issued as part of a legitimate

government investigation.

      II. Twitter’s claim that the district court erred by requiring Twitter to

comply with the Warrant before adjudicating the merits of Twitter’s NDO

challenge is moot and fails on the merits. The claim became moot when Twitter

fully (though belatedly) complied with the Show Cause Order because no

effective remedy now exists.      Vacating the contempt order and associated

sanction cannot undo Twitter’s compliance or enable it to disclose the Warrant

before producing responsive information.         The claim lacks merit because

compliance with a search warrant is entirely separate from any challenge to an


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order requiring the recipient not to disclose the existence of that warrant, and

once a court has made a probable-cause determination, service providers such

as Twitter are not empowered to functionally overrule the court by demanding

pre-enforcement review of the search warrant. Twitter’s claim also fails because

the putative executive-privilege claim it hypothesizes is not “colorable.” Br.37.

       III.   The district court did not abuse its discretion by holding Twitter in

contempt and assessing a $350,000 sanction. First, the district court did not

clearly err in determining that Twitter’s dilatory tactics and failure to take steps

to position itself to comply in a timely fashion demonstrated a lack of

substantial, good-faith compliance. In finding that Twitter did not act in good

faith, moreover, the district court properly assessed Twitter’s conduct from the

time it received the Warrant until the time it ultimately complied and did not

punish Twitter for asserting a First Amendment challenge because declining to

excuse Twitter’s non-compliance on the basis of its First Amendment claim is

not equivalent to punishing Twitter for raising such a claim. Finally, the district

court properly exercised its discretion in imposing a $350,000 sanction because

that amount was commensurate with the gravity of Twitter’s non-compliance

and appropriately calibrated to induce compliance in light of Twitter’s ability to

pay.




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                                  ARGUMENT

I.    Twitter’s First Amendment challenge lacks merit.

      Twitter principally contends (Br.20-34) that the NDO does not comport

with the First Amendment, a claim that is reviewed de novo. See Matter of

Subpoena 2018R00776, 947 F.3d 148, 154 (3d Cir. 2020) (Matter of Subpoena).

That contention fails because the NDO serves compelling government interests

and is narrowly tailored to further those interests. Twitter also purports to

challenge the NDO under the Stored Communications Act, but any First

Amendment interest that Twitter may claim in the NDO does not entitle it to

interpose a (forfeited) statutory claim that the district court erred in granting the

NDO. Likewise unavailing is Twitter’s argument (Br.28-30) that the district

court “undermined the adversarial process,” Br.28, by not granting Twitter

access to covert investigative materials protected by grand-jury secrecy rules.

      A.     The nondisclosure order survives strict scrutiny.

      Twitter contends (Br.23-34) that the NDO cannot withstand strict

scrutiny. 3 Under strict scrutiny, the NDO is valid if it is “narrowly tailored to


3
  No precedent from this Court has concluded that strict scrutiny applies when
an electronic service provider challenges a nondisclosure order, and there are
good reasons not to apply such “‘exacting’” review to a nondisclosure order that
“is not a restraint imposed on those who customarily wish to exercise rights of
free expression, such as speakers in public fora, distributors of literature, or
exhibitors of movies.” John Doe, Inc. v. Mukasey, 549 F.3d 861, 876-78 (2d Cir.
2008). Because the NDO here nonetheless survives strict scrutiny, the Court can

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serve compelling state interests,” Reed v. Town of Gilbert, 576 U.S. 155, 163

(2015), and there are no “less restrictive alternatives [that] would be at least as

effective in achieving the [NDO’s] legitimate purpose,” Reno v. ACLU, 521 U.S.

844, 874 (1997). As the district court correctly concluded, JA370-84, the NDO

at issue here satisfies strict scrutiny, see Matter of Subpoena, 947 F.3d at 159

(applying strict scrutiny and affirming district court order denying challenge to

a nondisclosure order under Section 2705(b)); Matter of the Search of Information

Associated with E-mail Accounts, 468 F. Supp. 3d 556, 560-63 (E.D.N.Y. 2020) (E-

mail Accounts) (applying strict scrutiny and denying Microsoft Corporation’s

challenge to a nondisclosure order under Section 2705); Google LLC v. United

States, 443 F. Supp. 3d 447, 452-55 (S.D.N.Y. 2020) (same for challenge brought

by Google); cf. In re National Security Letter, 33 F.4th 1058, 1063 (9th Cir. 2022)

(applying strict scrutiny and affirming a nondisclosure order obtained in

connection with a national security letter issued under 18 U.S.C. § 2709(c)).

            1.     The nondisclosure order serves compelling interests.

      The compelling government interests at stake include preserving the

integrity and secrecy of an ongoing investigation. “Maintaining the integrity of

an ongoing criminal investigation is a compelling government interest.” E-mail



assume without deciding that it applies. See Google LLC v. United States, 443 F.
Supp. 3d 447, 452 (S.D.N.Y. 2020) (adopting that approach).

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Accounts, 468 F. Supp. 3d at 560. The interest is particularly “acute” where, as

here, the investigation remains ongoing. Matter of Subpoena, 947 F.3d at 156.

And that interest is all the more compelling where the investigation concerns an

effort to interfere with the lawful transfer of power following the 2020 president

election and the certification of the Electoral College vote on January 6, 2021.

Cf. Haig v. Agee, 453 U.S. 280, 307 (1981) (“It is obvious and inarguable that no

governmental interest is more compelling than the security of the Nation.”)

(internal quotation marks omitted).

      Closely linked to the compelling interest in maintaining the integrity of an

investigation is protecting its secrecy, which in turns facilitates its “proper

functioning.” Douglas Oil Co. v. Petrol Stops Northwest, 441 U.S. 211, 218 (1979).

Relatedly, erosion of grand-jury secrecy “substantially increase[s] the ability of

persons who have something to hide to impede legitimate investigations.” SEC

v. Jerry T. O’Brien, Inc., 467 U.S. 735, 750 (1984). Such secrecy also furthers

several   additional   compelling     governmental    interests,     including   (1)

“prevent[ing] the escape” of individuals who may be indicted; (2) ensuring free

deliberations by the grand jury, while “prevent[ing] persons subject to

indictment or their friends from importuning the grand jurors”; (3) forestalling

efforts to suborn perjury or tamper with witnesses; and (4) encourag[ing] free

and untrammeled disclosures by persons who have information with respect to


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the commission of crimes.” Matter of Subpoena, 947 F.3d at 157 (quoting Douglas

Oil Co., 441 U.S. at 291 n.10). Although articulated in the context of grand-jury

investigations, those factors parallel similar considerations described in Section

2705(b), including destroying or tampering with evidence, intimidating

witnesses, or “otherwise seriously jeopardizing an investigation or unduly

delaying a trial.” 18 U.S.C. § 2705(b)(3)-(5).

      These are not hypothetical considerations in this case. Following his

defeat in the 2020 presidential election, the former President propagated false

claims of fraud (including swearing to false allegations in a federal court filing),

pressured state and federal officials to violate their legal duties, and retaliated

against those who did not comply with his demands, culminating in violence at

the U.S. Capitol on January 6. See Government’s Ex Parte Opposition to

Twitter Inc.’s Motion to Vacate or Modify Non-Disclosure Order and Stay

Twitter’s Compliance with Search Warrant, 23-sc-31, at 3-6 (D.D.C.) (filed Feb.

16, 2023) (“Ex Parte Opposition”). More recently, the former President has

taken several steps to undermine or otherwise influence the investigation into

the potential mishandling of classified information following the end of his

presidency, including publicizing the existence of the Mar-a-Lago Warrant. See

id. 6-9; ECF No. 30, at 23 n.6 (citing Mar-a-Lago Affidavit and

Declaration). The former President’s obstructive efforts continue unabated with


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respect to this investigation here, in which he has determined to pay the legal

fees of potential witnesses against him and repeatedly disparaged the lead

prosecutor on his Truth Social platform. See Ex Parte Opposition, at 5, 9.

Though Twitter has no basis to challenge the application of the Section 2705(b)

factors here, see infra at 29-31, this pattern of obstructive conduct amply supports

the district court’s conclusion that the former President presents a significant risk

of tampering with evidence, seeking to influence or intimidate potential

witnesses, and “otherwise seriously jeopardizing” the Government’s ongoing

investigations. See 18 U.S.C. § 2705(b). 4

      Twitter’s counterargument (Br.24-27) is unpersuasive. Suggesting that

“the cat is out of the bag,” Twitter contends that because some aspects of the

investigation are publicly known, the “marginal disclosure of the Warrant” will

not increase risks to any witnesses or the investigation.          Br.25-26.   That

contention is flawed in several respects. Although the investigation’s existence

is no longer secret, it does not follow that the many ongoing investigative steps

the Government is pursuing are therefore publicly known. The media accounts



4
  Twitter faults (Br.24) the district court for deferring to the Government’s
assessment of the potential effect on the ongoing investigation. But the
Government’s evaluation of “sensitive and weighty interests” of the sort
implicated in the Government’s investigation is indeed “entitled to deference.”
Holder v. Humanitarian Law Project, 561 U.S. 1, 33 (2010).


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that Twitter cites (Br.25) attempt to fill in gaps based on discrete pieces of

information or courthouse sightings of witnesses.5        And notwithstanding

Twitter’s suggestion (Br.27) that it “beggars belief” that the former President

would not be aware that the Government has obtained a warrant for his Twitter

account, 6 Twitter identifies no public reporting to suggest as much. Providing

the Warrant to the former president at this point in the investigation would thus

provide him with considerable ammunition to engage in the same kind of

obstructive efforts described above.

      Nor does public revelation that certain individuals have received grand-

jury subpoenas undermine the Government’s compelling interest in maintaining

the investigation’s integrity and confidentiality. Unlike Section 2705(b), which

provides for nondisclosure orders when certain factors are met, Rule 6(e) of the

Federal Rules of Criminal Procedure neither expressly limits grand-jury

witnesses from publicly disclosing that they have received a subpoena nor

authorizes courts to impose nondisclosure orders on such witnesses.           See

McKeever v. Barr, 920 F.3d 842, 844 (D.C. Cir. 2019); In re Application of USA,


5
 The same is true of the 80 pages of articles and other documents that Twitter
submitted in the district court. See JA56-135.
6
  Twitter offers no rationale for its speculation (Br.26-27 & n.16) that because
public reporting suggests that the Government’s investigation has sought other
individuals’ communications, the Government would necessarily have sought
the former President’s communications.

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No. 19-wr-10, 2019 WL 4619698, at *3-*5 (D.D.C. Aug. 6, 2019) (concluding

that, under McKeever, courts do not have the authority to impose nondisclosure

orders on grand-jury witnesses). That Congress provided a mechanism to

safeguard criminal investigations in Section 2705(b) for which no analogue

exists under the Federal Rules of Criminal Procedure for grand-jury witnesses

does not diminish the Government’s compelling interest in maintaining the

integrity and confidentiality of its investigative steps.

             2.    The nondisclosure order is narrowly tailored.

      The NDO is narrowly tailored to serve the Government’s compelling

interest because the restriction on Twitter is the least restrictive means of

advancing compelling governmental interests. See Matter of Subpoena, 947 F.3d

at 157-58; JA383-84. The NDO restricts Twitter from disclosing only discrete

investigation-related information—information that is in Twitter’s hands only

because it received legal process in connection with the investigation. And the

NDO is limited in duration.

      The scope of speech regulated by the NDO is extremely narrow. The

NDO prohibits Twitter from disclosing the existence of the Warrant. The NDO

does not purport to regulate Twitter’s ability to speak about any other topics,

such as the issue of nondisclosure orders generally or any information Twitter

has obtained independent of its interactions with the Government (or the grand


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jury) in this case. See Matter of Subpoena, 947 F.3d at 158 (finding a nondisclosure

order narrowly tailored where it permitted the service provider to “discuss[] the

government’s requests abstractly, as service providers have done by disclosing

the number of data requests and NDOs they receive in public docket civil

complaints”). Thus, “[b]y any measure, [the NDO] restricts a narrow slice of

speech.” Williams-Yulee v. Florida Bar, 575 U.S. 433, 452 (2015). That approach

is entirely consistent with cases permitting protective orders in civil litigation

that prohibit disclosure of information obtained in discovery because such orders

are “not the kind of classic prior restraint that requires exacting First

Amendment scrutiny.” Seattle Times Co. v. Rhinehart, 467 U.S. 20, 33 (1984); see

Butterworth v. Smith, 494 U.S. 624, 631-32 (1990) (extending Rhinehart to

government investigations by striking down a provision that limited a witness

from disclosing his own testimony indefinitely into the future even after the

conclusion of the investigation but not addressing “information which he may

have obtained as a result of his participation in the proceedings”).

      The NDO is further narrowly tailored because it is limited to 180 days.

The presence of a “temporal limitation” in a nondisclosure requirement is an

“important” consideration in assessing “the balance of governmental versus free

speech interests.” John Doe, Inc. v. Mukasey, 549 F.3d 861, 877 (2d Cir. 2008).

Courts have upheld as narrowly tailored nondisclosure orders that lasted up to


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a year. See Matter of Subpoena, 947 F.3d at 159; E-mail Accounts, 468 F. Supp. 3d

at 563. Here, the 180-day order appropriately balances the need for investigative

secrecy and any speech interests. See JA382.

      Rather than dispute these straightforward factors, Twitter proposes

(Br.31-34) two alternatives that it claims would permit it to “meaningfully

exercise its First Amendment rights by alerting its user of a potential executive

privilege.” Br.32. The district court correctly rejected those alternatives as

“untenable.” See JA383. First, Twitter suggested (Br.31) notifying only “its

user”—that is, the former President. In its reply brief in the district court (JA314-

15) and again on appeal (Br.32), Twitter offers further limitations, including

providing only the fact of the Warrant or only the Warrant and Attachment A.

Twitter forfeited those modified suggestions by failing to raise them in its

opening motion, see United States v. Brown, 249 F. Supp. 3d 287, 295 n.1 (D.D.C.

2017) (arguments raised for the first time in a reply brief in the district court are

forfeited), but they would fail in any event to adequately protect investigation

(for the reasons described previously) and could precipitate violence as occurred

following the public disclosure of the search warrant executed at Mar-a-Lago.

Ex Parte Opposition, at 6-8.

      Second, Twitter proposes (Br.32-33) disclosing the information to one of

the former President’s “representative[s],” perhaps even one under the


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Presidential Records Act (“PRA”), 22 U.S.C. § 2201 et seq. But some of the

individuals Twitter identifies                                               and

other of the former President’s PRA representatives are attorneys who continue

to represent him.     These “alternatives are untenable” because they are

“impractical,” “would be ineffective in maintaining . . . secrecy,” risk

“undermin[ing] the government’s interest in maintaining the confidentiality of

an ongoing investigation,” and would require a court to “assess the

trustworthiness of a would-be confidante chosen by a service provider.” Matter

of Subpoena, 947 F.3d at 158-59. The district court thus properly “‘decline[d] to

wade into this swamp’ of unworkable line drawing.”          Id. at 159 (quoting

Williams-Yulee, 575 U.S. at 454).    And Twitter does not explain why this

approach would be workable. In another alternative offered for the first time in

its reply brief below (JA315), Twitter suggests (Br.32-33)—without identifying

any statutory basis for such a suggestion—that the PRA representatives could be

ordered not to disclose the Warrant to the former President. But Twitter claims

to want to notify the PRA representative in an effort to permit the former

President to litigate any executive privilege concerns, and the PRA

representative would not have standing or authority to pursue such litigation




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without telling the former President about the Warrant and securing his consent

to assert any privilege.7

      B.     Twitter cannot challenge the district court’s application of the
             Section 2705(b) factors.
      Although Twitter’s statement of the issues (Br.4) suggests only a First

Amendment challenge to the NDO, Twitter repeatedly asserts that the NDO did

not comport with the Stored Communication Act. See Br.20, 22-24, 27-28.

Twitter lacks standing to contest whether the Government appropriately

established, and the district court appropriately concluded, that there was a

“reason to believe” that disclosure would result in one or more of the harms

identified in Section 2705(b).8

      The Act’s text and structure demonstrates that a service provider such as

Twitter cannot raise a statutory challenge. The Act explicitly states that “[t]he

remedies and sanctions described in this chapter are the only judicial remedies

and sanctions for nonconstitutional violations of this chapter.” 18 U.S.C.



7
  In the district court, Twitter also argued that the NDO was not narrowly
tailored because the Government could obtain the information in question from
the United States National Archives and Records Administration (“NARA”).
JA17. The argument lacks merit, see JA291-92, and Twitter has abandoned it
on appeal.
8
 Even if Twitter could challenge the Act, it has forfeited any such claim here
because it asserted its challenges to Section 2705(b) for the first time in its reply
brief below. JA303-08; see Brown, 249 F. Supp. 3d at 295 n.1.


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§ 2708. Just as suppression is not an available remedy for a claimed violation of

the Act, United States v. Beaudion, 979 F.3d 1092, 1101 (5th Cir. 2020), and

account holders cannot obtain nonconstitutional review of an order issued under

Section 2703(d), In re Application of the U.S. for an Ord. Pursuant to 18 U.S.C. sec.

2703(d), 830 F. Supp. 2d 114, 128-29 (E.D. Va. 2011), so too is Twitter foreclosed

from advancing a statutory claim that the district court misapplied the Section

2705(b) factors. That Congress afforded service providers grounds to move to

quash an order “if the information or records requested are unusually

voluminous in nature or compliance with such order otherwise would cause an

undue burden on such provider,” 18 U.S.C. § 2703(d), suggests under the

negative-implication canon that Congress did not intend to permit service

providers to challenge a court’s order issuing a nondisclosure order under

Section 2705(b). See Antonin Scalia & Bryan A. Garner, Reading Law: The

Interpretation of Legal Texts 107 (2012) (under the negative-implication canon, the

“expression of one thing implies the exclusion of others”).            And Twitter

identifies no statutory basis permitting it to challenge a nondisclosure order

under Section 2705(b). It follows that Twitter has no grounds to litigate the

district court’s conclusion that the NDO comported with Section 2705(b).

      That conclusion makes practical sense. It is “unlikely” that a service

provider could offer “pertinent information about whether notifying a subscriber


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or customer” would implicate a statutory harm given that the Government

“controls the scope of the criminal investigation” and “is better equipped to

provide information about the potential compromises” to that investigation.

Matter of Application of United States of Am. for an Ord. of Nondisclosure Pursuant to

18 U.S.C. § 2705(B) for Grand Jury Subpoena # GJ2014031422765, 41 F. Supp. 3d

1, 6 (D.D.C. 2014). As the district court correctly observed here, Twitter “has

been privy to only a sliver” of information and “thus is quite ignorant of details”

concerning the scope and extent of the Government’s investigation. JA375.

And as explained below, Twitter has no reason to learn investigative details,

many of which are protected under grand-jury secrecy rules in Rule 6(e), to

vindicate any First Amendment interests.

      C.     The district court did not undermine the adversarial process.
      Twitter complains (Br.28-30) that the district court subverted the

adversarial process by precluding Twitter’s access to ex parte filings. That

complaint lacks merit. Consistent with the statute, the Government explained

ex parte the justification under Section 2705(b) for the NDO. See Matter of Grand

Jury Subpoena for: [Redacted]@yahoo.com, 79 F. Supp. 3d 1091, 1092 (N.D. Cal.

2015); Google LLC, 443 F. Supp. 3d at 453. And in detailing the compelling

government interest for purposes of First Amendment analysis in response to

Twitter’s challenge, the Government filed both an ex parte submission and a


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sealed response. See Ex Parte Opposition; JA280-93. Those procedures were

appropriate here.

      A district court appropriately may ensure grand jury secrecy through

“provisions for sealed, or when necessary ex parte, filings.” In re Sealed Case, 121

F.3d 729, 757 (D.C. Cir. 1997) (per curiam). As this Court has recognized, a

district court adjudicating certain types of motions “will not be able to receive a

complete adversary presentation” because “one of the parties will not be privy

to the information at issue.” In re Sealed Case, 676 F.2d 793, 814 (D.C. Cir.

1982). Indeed, “courts often use in camera, ex parte proceedings . . . when such

proceedings are necessary to ensure the secrecy of ongoing grand jury

proceedings.” In re Sealed Case No. 98-3077, 151 F.3d 1059, 1075 (D.C. Cir. 1998)

(per curiam); accord In re Grand Jury Subpoena, Judith Miller, 438 F.3d 1141, 1151

(D.C. Cir. 2006). Both the Government’s application for the NDO under

Section 2705(b)—which Twitter may not challenge for the reasons given

above—and the Government’s response to Twitter’s motion to vacate or modify

the NDO required discussion of matters occurring before the grand jury, which

in turn necessitated an ex parte submission. Nonetheless, the Government’s 14-

page sealed (but not ex parte) response, JA280-93, alerted Twitter to the “general

purport” (Br.30) of the Government’s argument. Twitter’s reliance (Br.29) on

Abourezk v. Reagan, 785 F.2d 1043 (D.C. Cir. 1988), is thus inapposite because


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the district court there found the “public documentation” on which the

prevailing defendants relied “inadequate” before ruling in their favor based

solely on classified affidavits to which the plaintiffs had no access. Id. at 1059-

61.

      Twitter’s invocation (Br.29) of Freedman v. Maryland, 380 U.S. 51 (1965),

is also misplaced. In Freedman, a Maryland “motion picture censorship statute”

required submission of any film to a “Board of Censors” before it could be sold

or exhibited. Id. at 52 & n.1. The Supreme Court, recognizing that “any system

of prior restraints of expression comes to this Court bearing a heavy presumption

against its constitutional validity,” held that the Maryland scheme was an

unconstitutional prior restraint. Id. at 57-60 (brackets and internal quotation

marks omitted).      In Freedman and subsequent cases, the Supreme Court

developed certain “procedural safeguards” for censorship regimes involving

content-based prior restraints: “(1) any restraint prior to judicial review can be

imposed only for a specified brief period during which the status quo must be

maintained; (2) expeditious judicial review of that decision must be available;

and (3) the censor must bear the burden of going to court to suppress the speech

and must bear the burden of proof once in court.” Thomas v. Chicago Park Dist.,

534 U.S. 316, 321 (2002) (internal quotation marks omitted). But the procedural

safeguards that Freedman prescribes, 380 U.S. at 58, apply to cases involving


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“government censorship and licensing schemes,” not to a law that prohibits

disclosure of government requests for information “to assist in an investigation.”

In re National Security Letter, 33 F.4th at 1077. Because those procedures “were

designed to curb traditional censorship regimes,” they “are not required in the

context of government restrictions on the disclosure of information transmitted

confidentially as part of a legitimate government process, because such

restrictions do not pose the same dangers to speech rights as do traditional

censorship regimes.” Twitter, Inc. v. Garland, 61 F.4th 686, 707 (9th Cir. 2023).

      Twitter significantly overstates (Br.30) the perils of ex parte proceedings in

this matter. For example, although the Government’s application for the NDO

did not rely on risk of flight, the proposed order submitted to the district court

erroneously referred to flight from prosecution, see JA281 n.1 (Government

filing acknowledging the error). The district court did not rely on risk of flight

in issuing the NDO, however, see JA1, and the Government’s error therefore did

not undermine the justification for the NDO under Section 2705(b)(3)-(5), which

encompasses evidence tampering, witness intimidation, and other efforts to

“seriously jeopardiz[e] an investigation.” Nor does Twitter’s lack of access to

materials appropriately submitted and reviewed ex parte support its “unjustified

speculation” of inconsistency and shifting rationales. Google LLC, 443 F. Supp.

3d at 454. In fact, the district court’s comprehensive memorandum opinion


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carefully considered the parties’ submissions and did not create arguments from

whole cloth. Finally, Twitter’s suggestion that the Government seeks to avoid

litigating executive privilege claims is inaccurate. See JA167.

II.   Twitter’s claim that the district court erred by requiring compliance
      with the Warrant before adjudicating Twitter’s challenge to the
      nondisclosure order is moot and lacks merit.

      Twitter argues (Br.34-46) that the district court lacked authority to require

Twitter to comply with the Warrant before adjudicating Twitter’s challenge to

the NDO, and that the resulting contempt sanction for its failure to comply

should be vacated. That claim of error became moot when Twitter produced

responsive documents as required under the Warrant. The claim also fails on

the merits. If the Court reaches the merits of Twitter’s claim, it should review

for abuse of discretion the district court’s decision to resolve the question of

Twitter’s compliance with the Warrant before adjudicating Twitter’s First

Amendment challenge. See Dietz v. Boudin, 579 U.S. 40, 47 (2016) (noting that

“district courts have the inherent authority to manage their dockets and

courtrooms with a view toward the efficient and expedient resolution of cases”).

Twitter demonstrates no abuse of discretion here. 9



9
  Twitter suggests (Br.19) that its claim that the district court erred by requiring
it to produce information pursuant to the Warrant before addressing the separate
NDO is a “First Amendment argument[]” meriting de novo review but supplies
no authority for that novel proposition.

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      A.     Twitter’s claim is moot.

      Twitter seeks vacatur of the contempt order as relief for what it contends

was the district court’s error of ordering Twitter to produce responsive

documents as required under the Warrant before resolving Twitter’s challenge

to the NDO. Even if that claim were meritorious—which it is not, see infra at

39-47—vacating the contempt order would not remedy the error Twitter asserts.

As described above, the contempt finding reflected Twitter’s failure to follow

through on its promise to comply fully with the Warrant after the district court

in the Show Cause Order directed Twitter to produce all responsive materials by

5 p.m. on February 7, 2023. See JA216. Although Twitter failed to meet that

deadline, it fully complied with the Warrant by February 9. JA369.

      Twitter’s challenge to its obligation to comply with the Warrant pending

resolution of the NDO challenge thus became moot when Twitter complied with

the Warrant and disclosed the responsive documents. See John Doe Agency, et al.

v. John Doe Corp., 488 U.S. 1306, 1308-09 (1989) (Marshall, J., in chambers)

(granting a stay because the release of documents would moot a defendant’s

right to appeal); United States v. Griffin, 816 F.2d 1, 7 n.4 (D.C. Cir. 1987) (finding

appeal of a contempt order moot where the defendant had fully complied with

the underlying restitution order); Shapiro v. U.S. Dep’t of Justice, No. 13-cv-555,

2016 WL 3023980, at *7 (D.D.C. May 25, 2016) (granting a stay because


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“disclosure [of the documents] would moot [the appellant’s] right to appeal”);

People for the Amer. Way Found. V. U.S. Dep’t of Educ., 518 F. Supp. 2d 174, 177

(D.D.C. 2007) (same). In “the context of purely coercive civil contempt, a

contemnor’s compliance with the district court’s underlying order moots the

contemnor’s ability to challenge his contempt adjudication,” In re Grand Jury

Subpoena Duces Tecum, 91-02922, 955 F.2d 670, 672 (11th Cir. 1992) (collecting

cases), at least where a court cannot “undo the effects of compliance and a

decision is not likely to affect future events,” 13B Wright & Miller, Fed. Prac. &

Proc. Juris. § 3533.2.2 (3d ed.); see also In re Hunt, 754 F.2d 1290, 1293-94 (5th

Cir. 1985); In re Campbell, 628 F.2d 1260, 1261-62 (9th Cir. 1980) (per curiam).

      This Court’s decision in Washington Metropolitan Area Transit Authority v.

Amalgamated Transit Union, National Capital Local Division 689, 531 F.2d 617

(D.C. Cir. 1976), is instructive. There, the Court dismissed as moot an appeal

from a preliminary injunction and temporary restraining order, noting that the

appellant “concedes that it was required to obey the terms of the restraining

order, on which the fines were based, even if that order was improvidently

granted.” Id. at 620. Because the appellant had since fully complied, “neither

the temporary restraining order nor the injunction has any present vitality.” Id.

So too here.




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       In providing a generally unobjectionable account (Br.42-46) for why its

challenge to the contempt order remains live, Twitter fails to explain how it may

also challenge the district court’s underlying decision to address Twitter’s

noncompliance with the Warrant before adjudicating Twitter’s NDO challenge.

As noted, mootness generally turns on the availability of an effective remedy.

See 13B Fed. Prac. & Proc. Juris., supra, § 3533.2.2; Church of Scientology of Cal.

v. United States, 506 U.S. 9, 13 (1992) (the “availability of [a] possible remedy is

sufficient to prevent this case from being moot”). And here, if this Court

ultimately agrees with Twitter that the district court abused its discretion in

holding Twitter in contempt, Twitter’s payment of the fine could be remedied

by returning some or all of the money—particularly where, as here, the district

court held the funds in escrow. See, e.g., Corley v. Rosewood Care Ctr., Inc., 142

F.3d 1041, 1057 (7th Cir. 1998) (“Payment of the sanction does not moot the

appeal because the appellate court can fashion effective relief to the appellant by

ordering that the sum paid in satisfaction of the sanction be returned.”); 13B

Fed. Prac. & Proc. Juris., supra, § 3533.2.2 (“An effective remedy is most clearly

possible if the fine remains in the district court, not yet covered into the

Treasury.”); Rhode Island Hosp. Trust Nat’l Bank v. Howard Commc’ns Corp., 980

F.2d 823, 829 n.9 (1st Cir. 1992) (rejecting mootness argument where money

was held in escrow). But a decision by this Court vacating the contempt finding


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and returning funds to Twitter cannot undo Twitter’s compliance with the

Warrant 10 or enable Twitter to alert the former President about the Warrant

before Twitter’s production. 11

      B.    Twitter’s claim lacks merit.

      Even if not moot, the district court did not abuse its discretion by resolving

Twitter’s compliance with the Warrant before Twitter’s NDO claim.

      1. The district court correctly concluded that “the NDO was a wholly

separate order from the Warrant, with different standards applicable to issuance

of each.” JA366. Once a judge has issued a search warrant based on probable

cause, the Government is entitled to execute that warrant—including by

enforcing compliance where, as here, the relevant materials are held by a service

provider—in as expeditious a manner as possible to further its investigative ends.

If, as also occurred here, the Government demonstrates a “reason to believe”

that disclosure of the Warrant would result in one or more of the harms



10
  To preserve the claim that Twitter now wishes to assert, Twitter would have
had to disobey the Show Cause Order by not complying at all, be held in
contempt, potentially request the district court or this Court to stay the accrual
of the monetary sanction at some point, and then pursue its claim on appeal to
this Court.
11
   The exception to mootness for issues “capable of repetition, yet evading
review” (Br.45-46) has no application here. The Government does not intend
to seek another search warrant and nondisclosure order for the former
President’s Twitter account.

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enumerated in Section 2705(b), the court must issue an order prohibiting the

service provider from notifying “any other person” of the legal process for an

appropriate period of time. 18 U.S.C. § 2705(b). The provider may challenge

the nondisclosure order on First Amendment grounds, but no legal authority

permits it to hijack the Government’s investigation by using its challenge to

nondisclosure as a basis for refusing to comply at all. Stated otherwise, the

Warrant and the NDO “do not travel together.” JA174.

      There are also sound “practical” and “logistical” reasons to reject

Twitter’s fellow-traveler argument, as the district court observed. See JA366.

The approach Twitter advocates would necessarily create delay in compliance

with search warrants, which risks the destruction or loss of evidence, “heightens

the chance that targets will learn of the investigation, and jeopardizes the

Government’s ability to bring any prosecution in a timely fashion.” Google LLC,

443 F. Supp. 3d at 455. Permitting third-party providers to effectively halt a

government investigation in such a manner would “invite repeated litigation”

that could enable those providers “to alert users . . . , particularly for high profile,

highly placed users, such as current or government officials, with whom the

providers might want to curry favor,” JA366, or to contest the underlying

investigation criminal investigation by proxy.




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      In the absence of legal support for its approach, Twitter appears to suggest

that so long as a “colorable” argument (Br.37) exists, it (and presumably any

third-party provider who receives a nondisclosure order accompanying legal

process) should be permitted to halt execution of the underlying legal process.

The practical consequences of adopting Twitter’s amorphous standard would be

momentous, as the district court recognized.             JA212-13.      As Twitter

acknowledged below, JA6, Twitter users on whose accounts a search warrant

has been executed could potentially advance any number of legal arguments

related to information obtained as a result, including privilege claims (such as

attorney-client, clergy-penitent, and public officials protected by “official

privileges”) and suppression claims under the Fourth Amendment. Twitter

correctly conceded below (JA6) that it lacks standing to assert its users’ rights

and privileges but nonetheless proceeds to advocate an approach that would

permit it to avoid complying with a court order directing it to produce materials

in response to a search warrant any time Twitter deems the situation “unique.”

Neither legal authority nor an overarching interest in protecting the privacy of

its users permits Twitter to arrogate such power to itself. See Matter of Warrant

to Search a Certain E-Mail Acct. Controlled & Maintained by Microsoft Corp., 855 F.3d

53, 56 (2d Cir. 2017) (Carney, J., concurring in the order denying rehearing en

banc) (noting that a warrant “issued by a neutral magistrate judge upon a


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showing of probable cause . . . satisfied the most stringent privacy protections

our legal system affords”).

      2. Second, Twitter argues (Br.37) that a “colorable and time-sensitive”

executive privilege claim supported the relief it sought. That argument is flawed.

For one, Twitter does not explain the relevance of a putatively “[u]nique” or

“[i]mportant” issue—as Twitter characterized the executive privilege claim

below, see JA14—to strict scrutiny analysis, which asks whether the NDO

sought under Section 2705(b) is narrowly tailored to serve a compelling

governmental interest. See In re National Security Letter, 33 F.4th at 1072. A

Twitter user’s potential ability to challenge legal process—here, the Warrant—

is entirely distinct from the First Amendment concerns that Twitter claims it

seeks to further through its own challenge to the NDO. See, e.g., JA5 n.1 (Twitter

acknowledging below that it was not challenging the Warrant’s validity); JA6

(Twitter acknowledging it “might lack standing to assert the rights and privileges

of its users,” and acknowledging many potentially privileged communications

in which its users could engage).

      But even if the executive privilege claim that Twitter postulates bore some

relevance to the NDO, Twitter’s contention that this case presents a “colorable”

(Br.37) claim of executive privilege is mistaken. Even assuming a former

President can invoke executive privilege, former President Trump would have


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no basis to challenge the government’s access to his Twitter account based on

executive privilege because the Warrant requires access to the materials by the

Executive Branch itself.    Executive privilege is “inextricably rooted in the

separation of powers under the Constitution,” United States v. Nixon, 418 U.S.

683, 708 (1974), and it “derives from the supremacy of the Executive Branch

within its assigned area of constitutional responsibilities,” Nixon v. GSA, 433

U.S. 425, 447 (1977). The privilege exists “not for the benefit of the President

as an individual, but for the benefit of the Republic.” Id. at 449. Consistent with

the privilege’s function of protecting the Executive Branch as an institution, it

may be invoked in appropriate cases to prevent the sharing of materials outside

the Executive Branch—i.e., with Congress, the courts, or the public. Cf. Trump

v. Thompson, 142 S. Ct. 680, 680 (2022) (per curiam) (noting unresolved

questions about whether and under what circumstances a former President can

invoke the privilege to prevent such “disclosure”—there, to Congress). But the

separation-of-powers principles that form the basis for executive privilege

provide no justification to prevent the Executive Branch itself from accessing the

materials.

      Twitter cites no case in which executive privilege has been successfully

invoked to prohibit the sharing of documents within the Executive Branch, and

the Government is aware of none. To the contrary, in what appears to be the


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only case in which such an assertion has ever been made, Nixon v. GSA, the

Supreme Court rejected former President Nixon’s assertion that a statute

requiring the General Services Administration to take custody of and review

recordings and documents created during his presidency violated either the

separation of powers or executive privilege. 433 U.S. at 433-36. Addressing the

separation of powers, the Court emphasized that the Administrator of the GSA

“is himself an official of the Executive Branch,” and that the GSA’s “career

archivists” are likewise “Executive Branch employees.”        Id. at 441.   The

Supreme Court rejected the former President’s invocation of privilege against

the statutorily required review by the GSA, describing it as an “assertion of a

privilege against the very Executive Branch in whose name the privilege is

invoked.” Id. at 447-48. The Supreme Court explained that the relevant

question was whether review by Executive Branch officials within the GSA

would “impermissibly interfere with candid communication of views by

Presidential advisers.” Id. at 451. And it held that the question was “readily

resolved” because the review in question was “a very limited intrusion by

personnel in the Executive Branch sensitive to executive concerns.” Id.

      Indeed, when former President Trump previously sought to prevent the

Department of Justice from accessing documents from his presidency on the

basis of executive privilege, NARA flatly rejected that attempt after consulting


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with the incumbent President.12 After NARA notified the Department of Justice

that it had found documents with classified markings within 15 boxes of

presidential documents that the former President provided to NARA, the former

President sought to prevent the Department of Justice from accessing the

materials on the basis of executive privilege. See Letter from Debra Steidel Wall,

Acting Archivist of the United States, to Evan Corcoran (May 10, 2022) at 1-2,

available at https://www.archives.gov/files/foia/wall-letter-to-evan-corcoran-

re-trump-boxes-05.10.2022.pdf. NARA rejected those efforts, noting that with

respect to the former President’s attempt to assert executive privilege to prevent

others within the Executive Branch from reviewing the documents, its decision

was “not a close one.” Id. at 3. The same is true here.

      Moreover, Twitter has offered no support for its speculative premise that

the former President’s Twitter account could contain such communications.

Plainly, none of his publicly accessible tweets, available to millions of viewers,

could constitute the sorts of “materials that reflect presidential decisionmaking

and deliberations . . . that the President believes should remain confidential.” In

re Sealed Case, 121 F.3d at 744. And Twitter offers no reason to conclude that



12
   At the time Nixon v. GSA was litigated, the National Archives was a part of
the General Services Administration. In 1985, Congress created the NARA as
a separate agency.

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the former President, with the full array of communication technologies

available to the head of the Executive Branch, would have used Twitter’s direct-

message function to carry out confidential communications with Executive

Branch advisors. Indeed, the materials Twitter produced to the Government

included only 32 direct-message items, constituting a minuscule proportion of

the total production. As such, Twitter sought to delay compliance with the

entirety of the Warrant based on the speculative possibility that a tiny fraction

of the total production could, implausibly, contain instances when the President

sought to use the direct-messaging function to carry out sensitive and

confidential deliberations with trusted advisors within the Executive Branch.

The district court reasonably declined to delay Twitter’s compliance deadline

based on this speculative possibility.

      3. Twitter asserts (Br.35-37) that the First Amendment entitles it to pre-

enforcement review of a nondisclosure order accompanying a search warrant in

a criminal case. But it cites no legal authority supporting such a proposition. Cf.

Zurcher v. Stanford Daily, 436 U.S. 547, 565-67 (1978) (concluding that the

“preconditions for a warrant” protect against potential First Amendment harms

implicated in the search of a newspaper office, and not requiring investigators to

obtain a subpoena that the newspaper could move to quash before enforcement).

Whatever the importance under the First Amendment of “timing” (Br.35) in


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cases involving prior restraints on news organizations or political speech, those

considerations do not translate into the context of nondisclosure orders issued

along with legal process in criminal investigations. Just as the procedural

safeguards developed in Freedman “do not come into play in the case of statutory

schemes that do not present the grave dangers of a censorship system,” Twitter,

61 F.4th at 707 (internal quotation marks omitted); see supra 33-34, so too the

First Amendment does not empower Twitter to displace the ordinary

functioning of a criminal investigation. And if not even the owner of property

to be searched may challenge a warrant before its execution, see United States v.

Grubbs, 547 U.S. 90, 98-99 (2006), then certainly providers may not prevent a

warrant’s execution through a challenge to a nondisclosure order.

III.   The district court did not abuse its discretion in holding Twitter in
       contempt and levying a sanction.
       A civil-contempt finding comprises three stages: (1) “issuance of an

order”; (2) where a party has disobeyed that order, “issuance of a conditional

order finding the recalcitrant party in contempt and threatening to impose a

specified penalty unless the recalcitrant party purges itself of contempt by

complying with prescribed purgation conditions”; and (3) “exaction of the

threatened penalty if the purgation conditions are not fulfilled.” NLRB v. Blevins

Popcorn Co., 659 F.2d 1173, 1184 (D.C. Cir. 1981). The first two steps are not in

dispute here: the district court issued the Warrant on January 17, 2023, which

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required Twitter to produce responsive materials by January 27, 2023, see JA362;

and then on February 7 the district court issued a conditional show-cause order

threatening to impose a monetary sanction if Twitter failed to fulfill the

purgation condition of complying with the Warrant by 5 p.m. the same day, see

JA216. Attacking only the third step, Twitter argues (Br.46-59) that the district

court erred because (a) Twitter’s substantial compliance with the Warrant by 5

p.m. on February 7 excused its failure to comply fully; (b) the contempt finding

punished Twitter retrospectively and for exercising its legal rights; and (c) the

$350,000 sanction was “inordinately large.” Those arguments fail because the

district court acted well within its discretion. See FG Hemisphere Assocs., LLC v.

Democratic Republic of Congo, 637 F.3d 373, 379 (D.C. Cir. 2011).

      A.    The district court correctly determined that Twitter failed to
            substantially comply in good faith with the Warrant.
      Twitter first argues (Br.47-48) that its substantial, good-faith compliance

with the Show Cause Order precludes any finding of contempt. Where, as here,

a district court issues a forward-looking conditional contempt order, and the

contemnor fails to fully comply by the court-imposed deadline, the burden shifts

to the contemnor to “prov[e] good faith and substantial compliance,” assuming

for these purposes that good faith substantial compliance “survives” as a

defense. Food Lion, Inc. v. United Food & Com. Workers Int’l Union, AFL-CIO-CLC,

103 F.3d 1007, 1017 (D.C. Cir. 1997). When the claim of error rests on the

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district court’s finding that the party failed to carry its burden of establishing

good faith and substantial compliance, the party must demonstrate clear error.

See Laffey v. Northwest Airlines, Inc., 567 F.2d 429, 464 & n.263 (D.C. Cir. 1976),

abrogated on other grounds by McLaughlin v. Richland Shoe Co., 486 U.S. 128 (1988).

Twitter cannot make such a showing here.

      Twitter failed to prove that it “took all reasonable steps within [its] power

to comply” with the Show Cause Order. Food Lion, 103 F.3d at 1017 (internal

quotation marks omitted). Just as “good faith alone is not sufficient to excuse

contempt,” id. at 1017-18, so too substantial compliance absent good faith does

not suffice to justify a contemnor’s disobedience, see FTC v. Lane Labs-USA, Inc.,

624 F.3d 575, 591 (3d Cir. 2010) (approving a standard under which a contempt

finding is unsupported where the alleged contemnor “has made in good faith all

reasonable efforts to comply with a court order” (internal quotation marks

omitted)). Even assuming arguendo that Twitter’s production by the 5 p.m.

deadline on February 7 amounted to “substantial compliance,” see JA387, the

district court did not clearly err in concluding that Twitter did not act in good

faith. Throughout the period from January 19, 2023 (when Twitter first received

the Warrant), to January 25 (when Twitter’s senior legal director became aware

of the Warrant), to February 7 (when the district court entered the Show Cause

Order directing Twitter to comply or face a monetary sanction), Twitter failed


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to take the steps necessary to comply with the Warrant. JA387. Although

Twitter suggested on February 1 that it would “want to further discuss . . .

Attachment B and technical issues we will need to work through in responding,”

JA55, Twitter did not identify those technical issues or otherwise alert the

Government about its inability to comply fully until after the February 7 deadline

had passed, JA387. In short, rather than exert “diligent” and “serious” efforts

evincing a “good faith intention to comply with the Warrant,” JA388, Twitter

delayed compliance while it litigated the NDO challenge. Twitter’s failure to

pursue negotiations over how to resolve any technical obstacles to its full

compliance is particularly noteworthy because—as explained—Twitter would

be required to produce responsive data pursuant to the Warrant even if the

district court had resolved the separate NDO challenge in Twitter’s favor. In

that respect, Twitter’s untested factual claim (Br.48) that it expended

“extraordinary efforts” to comply but needed first to “clarify the scope” (Br.15)

of the Warrant illustrate its lack of good faith because the onus was on Twitter,

not the Government, to ensure that it was prepared to comply fully (as its

representation at the February 7 hearing implied) after it had already delayed

more than ten days beyond the deadline.

       Rather than contend that the district court’s factfinding was clearly

erroneous or that the court otherwise abused its discretion in exercising its


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reasoned judgment, Twitter maintains (Br.49-53) that the process by which the

district court assessed good faith and substantial compliance was infected by

legal error, on the theory that the district court engaged in an “impermissibl[y]”

“backward-looking analysis.” Br.49. But the case law does not support the

artificial limitations on district court discretion that Twitter proposes. Assessing

good faith is necessarily fact- and context-dependent, and courts may

permissibly consider the contemnor’s conduct over the full course of the

litigation, and its stated justifications for non-compliance, when assessing

whether the contemnor has carried its burden. See In re Fannie Mae Sec. Litig.,

552 F.3d 814, 822-23 (D.C. Cir. 2009) (refusing to “overturn the district court’s

fact-bound conclusion that [the contemnor] dragged its feet until the eleventh

hour,” and emphasizing that the district court had “placed great weight on the

long history of the discovery dispute”).

      To be sure, the distinction between a punishment imposed retrospectively

for a completed act of disobedience, on the one hand, and a conditional sanction

imposed prospectively to coerce compliance, on the other, can be relevant in

certain contexts, such as determining whether a contempt sanction is criminal

or civil in nature. See Int’l Union, United Mine Workers of Amer. v. Bagwell, 512

U.S. 821, 828-29 (1994). But it does not follow, as Twitter suggests, that a

district court must blind itself to conduct prior to the show-cause hearing when


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assessing the validity and persuasiveness of a contemnor’s proffered good-faith

defense.

      Here, in seeking to prove good faith and substantial compliance, Twitter

offered various justifications for why it failed to complete its production by the

court-imposed deadline. In assessing whether Twitter had carried its burden,

the district court permissibly considered an array of factors, including: Twitter’s

representations at the February 7 hearing that it could and would comply by the

deadline; Twitter’s failure to address any concerns about purported ambiguities

in the Warrant in a timely manner after receiving the Warrant; and the novelty

of the legal justifications Twitter had relied on to refuse compliance with the

Warrant in the first place.     JA387-88.    Nothing about the district court’s

assessment constituted reversible legal error.

      This Court’s decision in Washington Metropolitan Area Transit Authority v.

Amalgamated Transit Union, National Capital Local Division 689, 531 F.2d 617

(D.C. Cir. 1976), on which Twitter relies (Br.51-53), does not aid its argument.

There, without issuing any oral or written findings, the district court held a

union in contempt for violating a restraining order that required the union to

end a strike and restore transit service—even though union leaders urged

members to return to work, resulting in a partial restoration of service. 531 F.2d

at 618-20. The district court applied the “mass action principle,” under which a


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union is responsible for the actions of all its members, and did not consider the

defendants’ good-faith and substantial compliance arguments, leading this

Court to vacate the contempt finding and associated fine and direct the district

court to consider the union’s potential defenses (including good-faith substantial

compliance) on remand. Id. at 621-22. This Court also reversed a fine entered

against one of the union leaders on the ground that the district court failed to set

a financial penalty “until long after the strike ended.” Id. at 622.

      Nothing in Washington Metropolitan illustrates a flaw in the proceedings

below.   Unlike the district court in that case, the district court here fully

considered Twitter’s good-faith substantial compliance defense, ultimately

concluding that Twitter failed to carry its burden. And while Twitter correctly

notes (Br.47) that this Court in Washington Metropolitan urged “[f]lexibility” in

the face of “the complexity of the outstanding order, possible ambiguities, [and]

the difficulties in arranging compliance and the extent of efforts to obey its

terms,” 531 F.2d at 622 (internal quotation marks omitted), Twitter entirely fails

to explain how the difficulty in coordinating a return to work for a large-scale

union in an era with communication unlike the present day resembles the

straightforward, non-ambiguous order directing Twitter to produce data in its

possession by a certain date and time, particularly where that deadline was based

in part on Twitter’s own representations about feasibility.


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      Finally, Twitter argues (Br.53-55) that the district court’s contempt finding

“punished Twitter for even trying to protect its constitutional rights.” That

argument misconstrues the district court’s ruling. Twitter was—and remains—

entirely free to pursue its First Amendment challenge to the NDO. Twitter was

not, however, permitted to use its NDO challenge as an excuse not to comply

with its independent obligation under the Warrant to produce responsive

materials. That the district court declined to excuse Twitter’s non-compliance

with its production obligations on the basis of its First Amendment challenge to

its nondisclosure obligations is not equivalent to punishing Twitter for raising

such a claim in the first place.

     B.      The sanction was reasonable.

      Twitter contends (Br.55-59) that a monetary sanction of $50,000, doubling

each day, was unreasonably severe. The “imposition of coercive sanctions by

way of fines is generally an area in which appellate courts must rely heavily on

the informed exercise of the district court’s discretion.” In re Grand Jury Witness,

835 F.2d 437, 443 (2d Cir. 1987); see In re Grand Jury Subpoena Duces Tecum, 91-

02922, 955 F.2d at 673 (quoting and citing same); see also Perfect Fit Indus., Inc. v.

Acme Quilting Co., Inc., 673 F.2d 53, 57 (2d Cir. 1982) (“[T]he overriding

consideration is whether the coercive fine was reasonably set in relation to the




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facts and was not arbitrary.”). The district court did not abuse its discretion in

setting that sanction.

      “Judicial sanctions in civil contempt proceedings may, in a proper case,

be employed for either or both of two purposes[:] to coerce the defendant into

compliance with the court’s order, and to compensate the complainant for losses

sustained.” United States v. United Mine Workers of America, 330 U.S. 258, 303-04

(1947). A “per diem, coercive fine . . . is the epitome of a civil sanction” for

contempt. Pigford v. Veneman, 307 F. Supp. 2d 51, 57 (D.D.C. 2004). “[F]ines

exert a constant coercive pressure, and once the jural command is obeyed, the

future, indefinite, daily fines are purged.” Bagwell, 512 U.S. at 829. Contempt

sanctions “must be sufficiently hefty such that the contemnors are induced to

comply and the Court ‘must then consider the character and magnitude of the

harm threatened by continued contumacy, and the probable effectiveness of any

suggested sanction in bringing about the result desired.’” In re Grand Jury

Investigation of Possible Violations of 18 U.S.C. § 1956 & 50 U.S.C. § 1705, Misc. Nos.

18-175, 18-176, 18-177, 2019 WL 2182436, at *4 (D.D.C. Apr. 10, 2019)

(quoting United Mine Workers of Am., 330 U.S. at 304).

      To maximize the likelihood of obtaining Twitter’s rapid compliance with

the Show Cause Order, the district court reasonably imposed an escalating daily

fine of $50,000. See Pigford, 307 F. Supp. 2d at 54 (adopting escalating fines of


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$1,000 per day for first month of contempt, $2,000 per day for the second month,

and so on until the contempt was purged). That sanction was commensurate

with the gravity of Twitter’s non-compliance and Twitter’s ability to pay. See

JA214 (district court reasoning that “a hefty fine is appropriate here” because

Twitter “was purchased for over $40 billion, and the sole owner is worth over

$180 billion”); see also, e.g., NLRB v. Local 3, International Brotherhood of Elec.

Workers, 471 F.3d 399, 405 (2d Cir. 2006) (affirming a per-violation prospective

compliance fine plus an additional $5,000 per day for each day that a violation

continued); In re Grand Jury Investigation of Possible Violations of 18 U.S.C. § 1956 &

50 U.S.C. § 1705, 2019 WL 2182436, at *5 (explaining that a “[d]aily imposition

of a $50,000 fine is fitting” for “multi-billion-dollar banks disregarding an order

to produce records or a witness essential to an investigation into a state-sponsor

of terrorism’s proliferation of nuclear weapons”); id. (“Courts previously have

approved the amount of $50,000 per day as an appropriate sanction for other

well-resourced corporations and international banks.”) (citing multiple cases in

support); see also Pigford, 307 F. Supp. 2d at 54.

      Twitter’s counterarguments lack merit. For example, simply because the

sanction was designed to increase quickly to ensure compliance—as it

eventually did—and could have exceeded Twitter’s valuation within a month, it

does not follow that the ultimate sanction—$350,000—was impermissibly


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severe or onerous. For similar reasons, comparing the sanction imposed here to

the fee schedules imposed on countries or other large companies offers little

insight where the ultimate sanction was not unduly harsh. Finally, Twitter’s

contention (Br.58) that it “worked hard and in good faith to comply” beginning

on February 7 reinforces the district court’s conclusion that Twitter failed to

operate in good faith by preparing the responsive information to comply with

the deadline that Twitter itself promised to meet and that the contempt sanctions

imposed on February 7 were necessary to spur Twitter to act. Even while

Twitter’s lawyers were litigating, its engineers could have taken the necessary

steps to avoid any contempt finding at all.




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                                  CONCLUSION

         For the foregoing reasons, the Court should affirm the district court’s

order.

                                            Respectfully submitted,


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                       CERTIFICATE OF SERVICE

      I hereby certify that I filed the foregoing with the Clerk of the Court for

the United States Court of Appeals for the District of Columbia Circuit on April

21, 2023. I certify that service will be accomplished by email to following

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